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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                      )
                                          )
                  Plaintiffs              )
                                          )
v.                                        )                 Case No.: 6:18-cv-00056-RAW
                                          )
MCKESSON CORPORATION et al.,              )
                                          )
                  Defendants.             )
__________________________________________)

                                  NOTICE OF SUBPOENA

To Counsel of Record:

       PLEASE TAKE NOTICE that, pursuant to Rule 45, F.R.Civ.P., Defendants CVS

Pharmacy, Inc., and Oklahoma CVS Pharmacy, L.L.C., intend to serve a subpoena for production

of documents in the form attached hereto on July 16, 2021, or as soon thereafter as service may be

effectuated, to the following:

       Missouri Board of Pharmacy

                                             PHILLIPS MURRAH P.C.


                                             /s/G. Calvin Sharpe
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                                             and Oklahoma CVS Pharmacy, L.L.C.


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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of July, 2021, I electronically transmitted the above
and foregoing to the Clerk of Court using the ECF System for filing. Based on the records currently
on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
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